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AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT

 

 

for the
DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, )

P/ainll'jj’ )

V, ) Case No. l:l7-CV-02511-RJL
AT&T INC., DIRECTV GROUP HOLDINGS, LLC, )
and TIME WARNER INC., )
Defendcmt
APPEARANCE OF COUNSEL

To: The clerk of coui“t and all pal“cies of record

I am admitted or Othei'wise authorized to practice in this coul“t, and I appear in this case as counsel for:
Non-pai“cy The Walt Disney Company

d
Date: January 26, 2018 Z( §

Attorney's signature

Eugene M. Paige, DC Bar No. 476556

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